                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                         :       CHAPTER 11
                                               :
UPTOWN PARTNERS, LP,                           :       CASE NO.: 1:23-bk-00988-HWV
                                               :
DEBTOR-IN-POSSESSION                           :

                  STATEMENT THAT AN OFFICIAL COMMITTEE OF
                 UNSECURED CREDITORS HAS NOT BEEN APPOINTED

TO:      THE CLERK OF THE BANKRUPTCY COURT

       As of the date of this Statement, an official committee of unsecured creditors has not
been appointed by the United States Trustee in the above-captioned case for the following
reason(s):

(   )    Debtor’s list of twenty largest unsecured creditors reflects less than three unsecured
         creditors (excluding tort claimants, insiders and governmental agencies).

(X)      Insufficient response to the United States Trustee’s solicitation for service on the
         committee.

(   )    No unsecured creditor interest to serve.

(   )    Non-operating debtor-in-possession — No creditor interest.

(   )    Application to convert to Chapter 7 or to dismiss pending.

(   )    Converted or dismissed.

                                               Respectfully submitted,

                                               ANDREW R. VARA

                                               UNITED STATES TRUSTEE
                                               REGIONS 3 AND 9

                                               D. Troy Sellars, Esq.
                                               Assistant United States Trustee

                                        By:    /s/ Gregory B. Schiller
                                               Gregory B. Schiller, Esq.
                                               Trial Attorney
                                               United States Department of Justice



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Dated: November 30, 2023




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